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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 20-cv-24374-BLOOM

 MARGLLI GALLEGO,

        Plaintiff,
 v.

 IVETTE PEREZ, CARLOS LUFFI,
 RICKY GARCIA, FLAVIO ESCOBAR,
 all individually, and who are all residents
 of the State of Florida,

       Defendants.
 ______________________________/

                                     JOINT STATUS REPORT

        The Court ordered the parties to file a joint status reports advising on the status of Plaintiff

 Marglli Gallego’s open criminal case: State of Florida v. Marglli Gallego, Case No. F21-5594.

 See [D.E. 77, 92].

        1.      Ms. Gallego has not yet been brought to trial on Case No. F21-5594 (Grand

 Theft/Organized Fraud). With respect to this case, the sounding is set for February 2, 2023, and

 the trial is set for February 13, 2023.

        2.      On November 17, 2022, however, the Court revoked Ms. Gallego’s bond in Case

 No. F21-5594 because a new criminal case was filed against her: State of Florida v. Marglli

 Gallego, Case No. F22-20919 (Racketeering/Organized Fraud). The arraignment in this case is

 set for December 6, 2022.
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 Dated: November 22, 2022                 Respectfully Submitted,

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